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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         OCALA DIVISION

RACHELLE BEAUBRUN, et al.                    CASE NO. 5:19-cv-615-TJC-PRL
v.
UNITED STATES OF AMERICA


Counsel for Plaintiffs:                 Counsel for Defendant:
Bryan Busch                             Adam Smart
Philip Reizenstein                      Julie Posteraro
Kellie Peterson

              HONORABLE MARCIA MORALES HOWARD
                 UNITED STATES DISTRICT JUDGE

Courtroom Deputy: Jodi L. Wiles      Court Reporter: Cindy Packevicz Jarriel


                           CLERK’S MINUTES


PROCEEDINGS OF: SETTLEMENT CONFERENCE VIA ZOOM

Settlement conference conducted.

Court will reconvene on Tuesday, February 16, 2021, at 1:00 p.m.




Date: February 11, 2021   Time: 2:10 p.m. – 3:55 p.m.   Total: 1 Hour, 45 Minutes
